7:11-cv-00672-HMH   Date Filed 05/24/12    Entry Number 58-3   Page 1 of 5




                               bñÜáÄáí=P
7:11-cv-00672-HMH   Date Filed 05/24/12    Entry Number 58-3   Page 2 of 5




                               bñÜáÄáí=P
7:11-cv-00672-HMH   Date Filed 05/24/12    Entry Number 58-3   Page 3 of 5




                               bñÜáÄáí=P
7:11-cv-00672-HMH   Date Filed 05/24/12    Entry Number 58-3   Page 4 of 5




                               bñÜáÄáí=P
7:11-cv-00672-HMH   Date Filed 05/24/12    Entry Number 58-3   Page 5 of 5




                               bñÜáÄáí=P
